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 6   Attorneys for Plaintiffs
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 8                                 UNITED STATES DISTRICT COURT

 9                               NORTHERN DISTRICT OF CALIFORNIA

10   ELENA DEL CAMPO, et al., on behalf of               Case No. C 01-21151 SI
     themselves and all others similarly situated,,
11                                                       STIPULATION FOR DISMISSAL OF
                                           Plaintiffs,   ACTION
12
             v.                                          (FRCP, RULE 41(a)(1)(A)(ii))
13
     DON MEALING, et al.,
14
                                         Defendants.
15
     And Consolidated Action No. C 03-2611
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28   STIPULATION FOR DISMISSAL OF ACTION (FRCP, RULE 41(A)(1)(A)(II))
     CASE NO.: C 01-21151 SI
     71033
         Case 3:01-cv-21151-SI Document 1384 Filed 01/12/15 Page 2 of 2




 1           In light of the settlement between the parties and pursuant to the provisions of Federal

 2   Rules of Civil Procedure, Rule 41(a)(1)(A)(ii), plaintiffs and defendants through their attorneys of

 3   record hereby stipulate to the dismissal of this action with prejudice.

 4           IT IS HEREBY STIPULATED THAT THIS ACTION BE DISMISSED WITH

 5   PREJUDICE.

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 9   Dated: January 9, 2015                        BRAMSON, PLUTZIK, MAHLER &
                                                   BIRKHAEUSER, LLP
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11
                                                       /s/ Robert M. Bramson
12                                                                 Robert M. Bramson
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18                                                 ____________________________
                                                   _______/s/___Brett M. Godfrey___________
19                                                                   Brett M. Godfrey
                                                   Attorneys for Defendants Donald R. Mealing, Lynn R.
20                                                            Hasney, and Inc. Fundamentals

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     STIPULATION FOR DISMISSAL OF ACTION (FRCP, RULE 41(A)(1)(A)(II))
     CASE NO.: C 01-21151 SI                                                                                1
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